 1   Christina L. Henry, WSBA# 31273         FILED
     chenry@hdm-legal.com             2020 OCT 22 09:00 AM
 2   Henry & DeGraaff, PS                 KING COUNTY
     787 Maynard Ave S               SUPERIOR COURT CLERK
 3   Seattle, WA 98104                       E-FILED
     Tel: +1-206-330-0595            CASE #: 20-2-15575-6 SEA
 4   Fax: +1-206-400-7609
 5   Other Counsel on Signature Page

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 9
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
10                           IN AND FOR THE COUNTY OF KING
11

12   Joseph J. Hesketh III,
     on his behalf and on behalf of other similarly     Case No:
13   situated persons

14                  Plaintiff,

15                  v.                                  CLASS ACTION COMPLAINT

16   Total Renal Care, Inc, on its own behalf and on
     behalf of other similarly situated persons,        (JURY DEMAND)
17
                    Defendants.
18
            Plaintiff, Joseph J. Hesketh III, individually, and on behalf of all other similarly situated,
19
     sues Defendant, Total Renal Care, Inc. (“Total”) individually, and on behalf of all others
20
     similarly situated and alleges:
21
                                            I.     OVERVIEW
22

23
            1.           An employee has the right to be paid for the time the employee does work for
24
     an employer at the rates the parties have agreed. This action is filed because the Defendants and
25
     others failed to pay the Plaintiff and the other class members the amounts they were due to be
26
     paid for the work they performed and which the Defendants agreed to pay.

      COMPLAINT - 1                                                   HENRY & DEGRAAFF, P.S.
                                                                           787 MAYNARD AVE S
                                                                      SEATTLE, WASHINGTON 98104
                                                                         telephone (206) 330-0595
                                                                             fax (206) 400-7609
 1
            2.        Total is an integral part of DaVita, Inc. (DaVita) (formerly known as Total Renal

 2   Care Holdings, Inc.) DaVita is a nationwide entity that employs 77,000 people to operate its

 3   profit driven business model through a number of entities controlled and operated by DaVita.
 4   Employees of Total and the other entities are led to be believe that they all part of a single
 5
     “village” down to including the registered trademark of DaVita on their paychecks. DaVita
 6
     describes itself as entity that “…we provided dialysis and administrative services and related
 7
     laboratory services throughout the U.S. via a network of 2,753 outpatient dialysis centers
 8

 9   in 46 states and the District of Columbia, 1

10          3.          As of December 31, 2019, DaVita operated or provided administrative services

11   through a network of 2,753 outpatient dialysis centers in the U.S. 2 This includes 53 locations in
12
     Washington State.
13
            4.          Plaintiff is an employee of Total and a member of the DaVita village and began
14
     working Total over thirteen (13) years ago.
15

16          5.          DaVita maintains and publishes an employee handbook titled “Teammate

17   Policies” which contains certain conditions of employment; the handbook states what is expected

18   of DaVita employees and, inter alia, how DaVita will compensate its employees for their loyalty
19
     and work, under certain situations.
20

21

22

23

24          1
              See DaVita, Inc.’s 2019 10k available at
25   https://www.sec.gov/ix?doc=/Archives/edgar/data/927066/000092706620000014/dva-
     12311910k.htm#s967C77CBE804541FAE5B78B764C16026
26
            2
                Id.


      COMPLAINT - 2                                                   HENRY & DEGRAAFF, P.S.
                                                                           787 MAYNARD AVE S
                                                                      SEATTLE, WASHINGTON 98104
                                                                         telephone (206) 330-0595
                                                                             fax (206) 400-7609
 1
            6.         The Teammate Policies handbook, under the Compensation section, included a

 2   “Disaster Relief Policy” that sets out DaVita’s pay practices for non-exempt employees who miss

 3   work during a declared emergency, in whole or in part, and those non-exempt employees who
 4   can and do work during a declared emergency.
 5
            7.         The Disaster Relief Policy provides for pay continuance during an emergency
 6
     time frame when a declared emergency or natural disaster prevents teammates from performing
 7
     their regular duties and state that: “[a] declared emergency or natural disaster shall be proclaimed
 8

 9   by either the President of the United States, a state Governor or other elected official, or if local

10   leadership (DVP/Palmer) deems it appropriate. In the event of a state or federally declared natural

11   disaster, this policy provides information relative to pay practices, work schedules and facility or
12
     business office coverage.”
13
            8.         Under the section titled “Pay Practices For Non-Exempt Teammates” DaVita
14
     establishes the pay practices for three emergency or natural disaster scenarios:
15

16                          a. if non-exempt employees are unable to work because “a facility or

17                  business office is closed during a declared emergency or natural disaster,” those

18                  non-exempt employees will be paid for their regularly scheduled hours at regular
19                  pay;
20
                            b. if “a facility or business office opens late or closes early a declared
21
                    emergency or natural disaster,” non-exempt employees will be paid for their
22
                    regularly scheduled hours at regular pay, even if the employees are unable to work
23

24                  their full schedules because of the emergency or natural disaster; and

25                          c. if “a facility or business office is open during the designated time frame”

26                  employees who work their regularly scheduled hours will be paid premium pay.



      COMPLAINT - 3                                                   HENRY & DEGRAAFF, P.S.
                                                                           787 MAYNARD AVE S
                                                                      SEATTLE, WASHINGTON 98104
                                                                         telephone (206) 330-0595
                                                                             fax (206) 400-7609
 1
            9.         “Premium pay” is defined as one and one half times regular pay, unless state

 2   law dictates otherwise.

 3          10.        The clear import of the “Pay Practices For Non-Exempt Teammates” is that
 4   every non-exempt DaVita employee who works his or her regularly scheduled hours during a
 5
     declared emergency will be paid premium pay.
 6
            11.        The “Pay Practices For Non-Exempt Teammates” is a method of attracting and
 7
     retaining employees whose knowledge and skills are valuable to the business profit model
 8

 9   developed by DaVita. It is not altruism.

10          12.        DaVita’s policy and practice is to provide actual notice to its employees before
11   any changes to its pay policies take effect.
12
            13.        A national emergency was declared on January 31, 2020.
13
            14.        The Plaintiff, who is a non-exempt employee, continued to work his regularly
14

15   scheduled hours for Defendants after the state of emergency was declared.

16          15.        Defendants did not pay Plaintiff premium pay for the regularly scheduled hours
17   he worked during the time of the state of emergency. Instead, DaVita attempted to later change
18
     the terms of the Teammate Policies handbook to now exclude the present emergency from those
19
     emergencies covered by the Disaster Relief Policy by a notice sent out in September, 2020.
20
            16.        Whether or not DaVita’s effort to unilaterally change the pay agreement with
21

22   its non-exempt employees is effective, there is a period of time before the attempted effort was

23   made in which the Disaster Relief Policy applied and the premium pay was due to Plaintiff and

24   all other non-exempt employees.
25

26



      COMPLAINT - 4                                                 HENRY & DEGRAAFF, P.S.
                                                                         787 MAYNARD AVE S
                                                                    SEATTLE, WASHINGTON 98104
                                                                       telephone (206) 330-0595
                                                                           fax (206) 400-7609
                                            II.     PARTIES
 1

 2
            17.       Plaintiff, Joseph J. Hesketh, III, is an individual who is a citizen of and resides
 3
     in, the State of Washington.
 4
            18.       Defendant Total appears to be a California corporation although court disclosure
 5

 6   filings made on its behalf are conflicting as to its state of incorporation. DaVita is a Delaware

 7   Corporation. Both list their principal place of business at the same address in Denver, Colorado.

 8   Its agent for service of process is Corporation Service Company, 1900 W. Littleton CO 80210.
 9
                                III.    JURISDICTION AND VENUE
10

11
            19.       This Court has jurisdiction over Total and the Defendant Class Members who
12
     regularly conduct business in Kings County, Washington.
13

14          20.     Venue is proper in in King County Superior Court because Total and the

15   Defendant Class Members transact business, in King County, Washington.

16

17   IV.     ALLEGATIONS COMMON TO PLAINTIFF AND THE CLASS AGAINST THE
                   DEFENDANT AND THE CLASS OF DEFENDANTS.
18

19          21.       Plaintiff and class members (hereinafter collectively “Plaintiff Class Members”)
20   are employed by Total and the Defendant Class Members.
21
            22.       Plaintiff Class Members provided services to the Defendant Class Members
22
     after the national emergency declared on January 31, 2020.
23

24          23.       The Defendant Class Members failed to pay the Plaintiff Class Members

25   premium time as promised in the Teammates Policy handbook.

26



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                                                                          787 MAYNARD AVE S
                                                                     SEATTLE, WASHINGTON 98104
                                                                        telephone (206) 330-0595
                                                                            fax (206) 400-7609
 1
            24.        The Plaintiff Class Members are entitled to the premium pay for the hours they

 2   worked as they were promised.

 3          25.        The amounts owed to the Plaintiff Class Members are liquidated amounts.
 4                   V.      CLASS ALLEGATIONS AS TO PLAINTIFF CLASS
 5

 6          26.        Plaintiff brings this complaint individually and on behalf of a class of all other

 7   persons similarly situated.
 8          27.        The class is comprised of all non-exempt employees of the Defendant Class
 9
     Members who:
10
                            a. Worked for the Defendant Class Members on and after January 31,
11
                            2020;
12

13                          b. Were not paid the premium pay equal to ½ times their base rate, for any

14                          work performed after the declaration of emergency.

15          28.        Based on the number of clinics operated by the Defendant Class Members in
16
     the United States, upon information and belief, the class is so numerous as to make it
17
     impracticable to join all members of the class of plaintiffs. On information and belief, the class is
18
     comprised of hundreds, if not thousands of individuals.
19

20          29.        There are questions of law and fact which are common to all members of the

21   Plaintiff Class, which questions predominate over any question affecting only individual class

22   members, the principal common issues are:
23
                    a. whether Plaintiff Class Members are entitled to be paid the premium pay for the
24
                    hours they worked for the Defendant Class Members since the declaration of an
25
                    emergency; and
26



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                                                                           787 MAYNARD AVE S
                                                                      SEATTLE, WASHINGTON 98104
                                                                         telephone (206) 330-0595
                                                                             fax (206) 400-7609
                    b.Whether the Plaintiff Class Members are entitled to prejudgment interest on any
 1

 2                  amounts they are owed by the Defendant Class Members.

 3           30.       The only individual questions concern the identification of class members and
 4   the computation of the relief to be afforded each class member and can be determined by a
 5
     ministerial examination of the Defendant Class Members’ records.
 6
             31.       Plaintiff’s claims are typical of the claims of the Plaintiff Class Members. Upon
 7
     information and belief, the Defendant Class Members treated all of the Plaintiff Class Members
 8

 9   the same by failing to pay premium time since the declaration of an emergency.

10           32.       Plaintiff will fairly and adequately protect the interests of all class members in
11   the prosecution of this action. He is similarly situated with, and has suffered similar injuries as,
12
     the members of the class he seeks to represent. He feels he has been wronged and wishes to obtain
13
     redress of the wrong. To that end, plaintiff has retained counsel experienced in handling class
14
     action suits involving claims as set forth in this complaint. Neither the named plaintiff nor his
15

16   counsel have any interest which might cause them not to vigorously pursue this action.

17           33.       The Defendant Class Members have and are acting in a uniform manner with

18   respect to the entire class and on grounds uniformly applicable to the class.
19
             34.       A class action is superior to other available methods for the fair and efficient
20
     adjudication of the controversy.
21
             35.       The amounts involved on an individual basis make pursuit of individual actions
22

23 unlikely.

24           36.       The concentration of the litigation concerning this matter in this Court is
25 desirable if the court.

26
             37.       A failure of justice will result from the absence of a class action.


      COMPLAINT - 7                                                   HENRY & DEGRAAFF, P.S.
                                                                           787 MAYNARD AVE S
                                                                      SEATTLE, WASHINGTON 98104
                                                                         telephone (206) 330-0595
                                                                             fax (206) 400-7609
 1
            38.         Plaintiff Class Members were damaged by the conduct complained of, in that

 2 they were not paid the amounts owed to them and that the Defendant Class Members promised to

 3 pay them.

 4
                  VI.    CLASS ALLEGATIONS AS TO THE DEFENDANTS CLASS.
 5

 6          39.         Plaintiff brings this complaint against the Defendant Total individually and on
 7
     behalf of a class of all others similarly situated. DaVita operates as a single unit (or what it calls
 8
     a village) for purposes of promises made to employees notwithstanding the creation of separate
 9
     entities. To the extent there are separate entities operating different locations, each have the same
10

11   interest as Total and DaVita and ultimately DaVita as the owner of any separate entities is affected

12   by the claims made in this action.

13          40.         The Defendant Class is comprised of all entities which are owned or controlled
14
     by the DaVita who:
15
                             a. Has employees who are covered by the Teammates Policies Handbook
16
                             published by DaVita, Inc.
17

18                           b. The employees worked for the Defendant Class Members on and after

19                           January 31, 2020;

20                           c. The Defendant Class Members did not pay premium pay, defined as 1.5
21                           times their base rate, for any work performed since the declaration of the
22
                             emergency.
23
            41.         Based on the number of clinics operated by the Defendant Class Members in
24
     the United States, upon information and belief, the class is so numerous as to make it
25

26   impracticable to join all members of the class of plaintiffs. On information and belief, the class is

     comprised of tens if not hundreds of entities.

      COMPLAINT - 8                                                    HENRY & DEGRAAFF, P.S.
                                                                            787 MAYNARD AVE S
                                                                       SEATTLE, WASHINGTON 98104
                                                                          telephone (206) 330-0595
                                                                              fax (206) 400-7609
 1
            42.       There are questions of law and fact which are common to all members of the

 2   Defendant Class, which questions predominate over any question affecting only individual

 3   Defendant Class Members, the principal common issues are:
 4                  a. whether Plaintiff Class Members are entitled to be paid premium time for the
 5
                    hours they worked for the Defendant Class Members since the declaration of an
 6
                    emergency.
 7
                    b.Whether the Plaintiff Class Members are entitled to prejudgment interest on any
 8

 9                  amounts they are owed by the Defendant Class Members.

10          43.       The only individual questions concern the identification of Defendant Class

11   Members and the computation of the relief that the defendant class members may be liable for
12
     and can be determined by a ministerial examination of the Defendant Class Members’
13
     electronically stored information.
14
            44.       Total’s position or defenses to the claims are typical of the position or defenses
15

16 of the Defendant Class Members. Upon information and belief, the Defendant Class Members

17 treated all of the Plaintiff Class Members the same by failing to pay premium time since the

18 declaration of an emergency as directed by DaVita.

19
            45.       Defendant Total will fairly and adequately protect the interests of all class
20
     members in the defense of this action. It is similarly situated to and provides its employees
21
     DaVita’s company policies as set forth in the Teammates Policies Handbook and all of the
22
     Defendant Class Members treat its employees in accordance with its provisions. To that end,
23

24   Defendant Total is likely to retain counsel experienced in handling class action suits involving

25   claims as set forth in this complaint. Neither Total nor its counsel will have any interest which
26



      COMPLAINT - 9                                                 HENRY & DEGRAAFF, P.S.
                                                                         787 MAYNARD AVE S
                                                                    SEATTLE, WASHINGTON 98104
                                                                       telephone (206) 330-0595
                                                                           fax (206) 400-7609
     might cause them not to vigorously defend this action and the interests of the Defendant Class
 1

 2   Members.

 3           46.        The Defendant Class Members have and are acting in a uniform manner with
 4   respect to the entire class and on grounds uniformly applicable to the class.
 5
             47.        A class action is superior to other available methods for the fair and efficient
 6
     adjudication of the controversy.
 7

 8
             48.        The Defendant Class Members can more economically defend the claims rather

 9   than defend tens if not hundreds of individual actions.

10           49.        The concentration of the litigation concerning this matter in this Court is
11   desirable if the court.
12
             50.     A failure of justice will result from the absence of a class action.
13

14                                   COUNT I – BREACH OF CONTRACT

15
             51.        The Plaintiff incorporates the foregoing paragraphs.
16

17           52.        The Plaintiff Class Members entered into a contract with the Defendant Class

18   Members for the wages to be paid for their services.
19           53.        The contract set forth the rate of pay for the Plaintiff Class Members if there
20
     was an emergency declared.
21
             54.        The Defendant Class Members have breached their agreements with the
22
     Plaintiff Class Members by failing to pay them premium time for their work since the declaration
23

24   of an emergency.

25           55.        The Plaintiff Class Members have fully performed their obligations under the
26   parties’ agreement for the payment of wages promised.


      COMPLAINT - 10                                                   HENRY & DEGRAAFF, P.S.
                                                                            787 MAYNARD AVE S
                                                                       SEATTLE, WASHINGTON 98104
                                                                          telephone (206) 330-0595
                                                                              fax (206) 400-7609
 1
            56.        The Plaintiff Class Members have been damaged by the Defendant Class

 2   Members breach.

 3          57.        The Plaintiff Class Members are entitled to damages for the Defendant Class
 4   Members breach.
 5
            58.        The Plaintiff Class Members are entitled to prejudgment interest on any
 6
     liquidated amount of damages.
 7

 8                     Wherefore, Plaintiff and Class Members pray that this court:
 9

10            A. Certify this case as a class action with the named Plaintiff as class representative
11                and his attorneys as counsel on behalf of the class described herein;
12
              B. Certify a class of Defendants with the named Defendant as the representative of the
13
                  Defendant Class;
14
              C. Order appropriate compensatory damages in an amount to be determined at trial for
15

16                the Plaintiff and the Class in excess of $75,000;

17            D. Award attorney’s fees and costs if allowed by law;

18            E. Award prejudgment interest on any award; and
19
              F. Provide such other or further relief as the Court deems appropriate.
20

21                                                       Respectfully submitted,

22        Dated this 21st of October, 2020.
                                                         /s/ Christina L Henry
23                                                       Christina L Henry, WSBA 31273
                                                         Counsel for Plaintiff
24                                                       HENRY & DEGRAAFF, PS
                                                         787 Maynard Ave S
25
                                                         Seattle, WA 98104
26                                                       TEL 206-330-0595
                                                         FAX 206-400-7609
                                                         chenry@hdm-legal.com

      COMPLAINT - 11                                                  HENRY & DEGRAAFF, P.S.
                                                                           787 MAYNARD AVE S
                                                                      SEATTLE, WASHINGTON 98104
                                                                         telephone (206) 330-0595
                                                                             fax (206) 400-7609
 1
                      J. Craig Jones
 2                    (Pro Hac Vice to be filed)
 3                    JONES & HILL, LLC
                      131 Highway 165 South
 4                    Oakdale, LA 71463
                      TEL 318-335-1333
 5                    FAX 318-335-1934
                      craig@joneshilllaw.com
 6

 7
                      Scott C. Borison
 8                    (Pro Hac Vice to be filed)
                      BORISON FIRM, LLC.
 9                    1900 S. Norfolk Rd. Suite 350
                      San Mateo CA 94403
10                    TEL 301-620-1016
                      FAX 301-620-1018
11
                      scott@borisonfirm.com
12

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     COMPLAINT - 12             HENRY & DEGRAAFF, P.S.
                                     787 MAYNARD AVE S
                                SEATTLE, WASHINGTON 98104
                                   telephone (206) 330-0595
                                       fax (206) 400-7609
